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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   Case No.: 0:16-cv-61733-BB

 SYMBOLOGY INNOVATIONS, LLC,

        Plaintiff,

 v.

 NEXTERA ENERGY, INC. and FLORIDA
 POWER & LIGHT COMPANY,

        Defendants.


                        NOTICE OF VOLUNTARY DISMISSAL OF
                       DEFENDANT NEXTERA ENERGY, INC. ONLY

        Plaintiff SYMBOLOGY INNOVATIONS, LLC, by and through its undersigned counsel,

 hereby voluntarily dismisses the instant lawsuit against Defendant Nextera Energy, Inc. only

 with each party to bear its own costs and attorneys’ fees.

 Dated: August 30, 2016                        Respectfully submitted,


                                                 /s/ Joel B. Rothman
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                                    CERTIFICATE OF SERVICE

         The undersigned does hereby certify that on August 30, 2016, a true and correct copy of
 the foregoing document was sent via electronic mail by the Court’s CM/ECF system to all
 parties listed below on the Service List.

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